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                       EXHIBIT 4
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                                                                          Review

    1             UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF OHIO
    2                    EASTERN DIVISION
    3    IN RE: NATIONAL             )    MDL No. 2804
         PRESCRIPTION OPIATE         )
    4    LITIGATION                  )    Case No.
                                     )    1:17-MD-2804
    5                                           )
         THIS DOCUMENT RELATES TO               )    Hon. Dan A.
    6    ALL CASES                              )    Polster
                                                )
    7
    8

    9
   10                        Monday, May 13, 2019

   11
             HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER
   12                 CONFIDENTIALITY REVIEW

   13
   14
   15
   16           Videotaped Deposition of JAMES E.
          RAFALSKI, held at Weitz & Luxenburg PC, 3011
   17     West Grand Avenue, Suite 2150, Detroit,
          Michigan, commencing at 9:20 a.m., on the
   18     above date, before Michael E. Miller, Fellow
          of the Academy of Professional Reporters,
   19     Registered Diplomate Reporter, Certified
          Realtime Reporter and Notary Public.
   20
   21
   22


   23
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     1                             PROCEEDINGS
     2                        (May 13, 2019 at 9:20 a.m.)
     3                        (The following proceedings were
     4             conducted off the videotaped record.)
     5                       MR. NICHOLAS:        Before we get
     6             started, Mr. Fuller, counsel for
    7              plaintiffs, just handed me a Touhy
     8             authorization letter that's dated
     9             April 12th of 2019.          This is the first
   10              we 1 ve seen it.       I'm going to proceed
   11              with the deposition.
   12                        I will reserve our right to
   13              come back if there's anything about
   14              our receipt of this or something in
   15              the letter that requires us to come
   16              back and ask more questions since
   17              we 1 re seeing it for the first time,
   18              and that 1 s what I wanted to say.
   19                        MR. FULLER:       Sure.     And we 1 ll
   20              put on the record that as everyone
   21              here knows, Mr. Rafalski is a former
   22              DEA agent, therefore Touhy
   23              authorization would have to be
   24              obtained, similarly to the 20 former
   25              DEA employees that the defendants

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     1             requested Touhy clearance on before
     2             disclosing some of their expert
     3             reports.
     4                       I 1 ve been asked to remind that
     5             the DEA wasn't noticed of this depo,
     6             even though he 1 s a former agent, by
     7             the defense.        They weren't necessarily
     8             happy with that.         They asked for
     9             everybody to comply with the Touhy
   10              authorization, which, similar to the
   11              other authorizations in this case,
   12              allows the witness to testify to --
   13              well, a little different with Rafalski
   14              because he's reviewed a lot of the
   15              documents produced by all the
   16              defendants, testified from the
   17              discovery produced in this case and
   18              anything nonprivileged as set out in
   19              the Touhy authorization.
   20                        MR. NICHOLAS:        Okay.     There 1 s
   21              too many things to argue about in this
   22              case to get into a big argument
   23                        MR. FULLER:       Sure, sure.
   24                        MR. NICHOLAS:        -- but I will
   25              just say that he's your retained

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     1             expert.      You 1 ve had this letter for a
     2             month; you 1 re just giving it to us
     3             today.
     4                       So I don 1 t get the part where
     5             the DEA -- if the DEA is unhappy,
     6             maybe they're unhappy with you guys,
     7             but they shouldn't be unhappy with us
     8             because he 1 s your person.
     9                       But like I said, we don't need
   10              to spend any more time on it.
   11                        THE VIDEOGRAPHER:         Ready to
   12              begin?
   13                        MR. NICHOLAS:        I am.
   14                         (Whereupon the videotaped
   15              record begins.)
   16                        THE VIDEOGRAPHER:          We 1 re now on
   17              the record.       My name is David Lane,
   18              videographer for Golkow Litigation
   19              Services.       Today 1 s date is May 13th,
   20              2019.     Our time is 9:22 a.m.
   21                        This deposition is taking place
    22              in Detroit, Michigan in the matter of
   23              National Prescription Opiate
    24             Litigation.       Our deponent today is
    25             James E. Rafalski.

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     1                       Counsel will be noted on the

     2              stenographic record.          Our court
     3              reporter is Mike.Miller, and he will

     4             now swear in the witness.

     5                       JAMES E. RAFALSKI,

     6                    having been duly sworn,

     7                    testified as follows:

     8                             EXAMINATION

     9     BY MR. NICHOLAS:
   10              Q.        Good morning, Mr. Rafalski.             My
   11      name is Bob Nicholas.           I represent

    12     AmerisourceBergen.          I'm here to ask you

   13      questions in connection with the MDL opioid

    14     litigation and specifically the Track 1 and

   15      Track 2 -- just the Track 1 cases that are

   16      currently scheduled to go to trial in

   17      October.
   18              A.        Good morning, sir.
   19              Q.        Good morning.
   20                        You are here as a retained

    21     expert on behalf of the Track 1 plaintiffs in

   22      this case; is that right?
   23              A.        Yes, sir, I am.
   24              Q.        Okay.     And you are being paid
    25     for your time?

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     1             A.        I think so.
     2             Q.        Okay.

     3             A.        Maybe a few more, but I did not

     4     read the full deposition.

     5             Q.        Okay.     Thank you for all that.
     6             A.        Yep, you're welcome, sir.
     7             Q.        I apologize for taking so much

     B     time on this background stuff, but someone's

     9     got to do it.

   10              A.        I understand.
   11              Q.        Are you familiar with the

   12      regulation that discusses suspicious orders,

   13      regulation 1301.74, subpart (b)?

   14              A.        Yes, sir.
   15              Q.        All right.       And does that
   16      regulation define suspicious orders?

   17              A.        I   think the regulation itself

   18      is a broad regulation and, I think, for a

   19      good purpose.         I think it gives some guidance

   20      on a suspicious order, but I think the actual

   21      full definition is up to the registrant,

   22      depending on a lot of factors; the scope of

   23      their business and the scope of those

   24      customers that receive products from them.

   25                        So I think -- I know there's a

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     1     lot of criticism about the -- or there 1 s some
     2     criticism about the regulation.               I think it's

     3     a perfect regulation for industry to adhere a

    4      specific program to.
           '
     5             Q.        The regulation defines

     6     suspicious orders as orders of unusual size,

    7      orders deviating substantially from a normal

     s     pattern, and orders of unusual frequency; is

     9     that correct?
   10              A.        Well, that is what the

   11      regulation says, but -- but I 1 m not so sure I

   12      agree if you're saying the word "defines"

   13      says that suspicious orders could only be

   14      those things.

   15                        I think that's up to the

   16      registrant to -- because there could be other

   17      factors where a suspicious order could be

   18      identified other than those three parameters.
   19              Q.        Does the order tell the

   20      registrant what is meant by an order of

   21      unusual size?
   22                        MR. FULLER:       Form.
   23              A.        No, I think that 1 s up for the

   24      registrant to define based on their

   25      application of their maintenance of effective

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     1     controls.       You know, that question has come
     2     up before.       I think the important thing first

     3     for a company or a registrant is define what
    4      11   usual 11 is, and that would be their due

    s      diligence and their maintenance of effective
     6     controls.

    7                        Many companies focus on trying
     B     to define an unusual order when they don't
     9     sufficiently understand what a usual order is
   10      in regards to what kind of business they're
   11      operating and the scope of their business.
   12                        MR. FULLER:       Bob, and not to
   13                pick on your flow, but your last
   14                question was does the order tell the
   15                registrant.
   16                        MR. NICHOLAS:        Oh, my mistake.
   17                        MR. FULLER:       That's why I
   18                objected.
   19                        MR. NICHOLAS:        I appreciate it.
   20                Well, then I appreciate it.
   21                        MR. FULLER:       But Rafalski still
   22                answered it.
   23                        MR. NICHOLAS:        That 1 s fine.
   24                        THE WITNESS:        I thought I had
   25                to.

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     1             A.        I think I stated that in my

     2     previous answer.         Of this regulation or any
     3     regulation?
     4             Q.        This one.
     5             A.        No, I think the regulation is
     6     fine exactly as it stands.
     7             Q.        And would you continue to say
     8     that if you understood that both industry and
     9     people within the DEA have expressed
   10      confusion about the meaning of the language?
   11              A.        Well, I'm only speaking from my
   12      experience and conducting my investigations
   13      in dealing with registrants, and I guess
   14      sometimes when I look at that regulation and
   15      if I thought I had the role of being a
   16      distributor or a manufacturer, I would want
   17      it to be as nonrestrictive and broad as
   18      possible to design the best system based on
   19      the type of company that I had and the scope
   20      of my business model and who my customers
   21      were.
   22                        So I think changing the
   23      regulation is a -- I hope that if it is
   24      changed, that it takes that into
   25      consideration because I don't really think

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     1     there's a one-size-fits-all.

     2                       I think there's some

     3     expectations of the regulation, but I hope

     4     that my experience, again -- I keep harkening

     s     back         is that industry has always been

     6     asking for just what is a system and design

     7     it.    And that's not possible because there's
     8     so many different types of businesses and

     9     types of customers.          It 1 s got to be tailored
   10      to the company's business.
   11              Q.        And the customers change, the
   12      customers' businesses change, the hospitals
   13      and the doctors change.            All that stuff is
   14      constantly changing, correct?
   15              A.        That's exactly my point.
   16              Q.        Yeah.
   17              A.        It's never a static industry.
   18      The types of diversion change, the types of
   19      drugs change, and to make a regulation that
   20      would be very restrictive would probably
   21      cause diversion.
   22                        MR. NICHOLAS:        We'll just do
   23              one more segment here and then we can
   24              break for lunch.
   25                        MR. FULLER:       Sure.

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                                                                          Review

     1                      CERTIFICATE
     2                I, MICHAELE. MILLER, Fellow of
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     3     Registered Diplomate Reporter, Certified
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     4     and Notary Public, do hereby certify that
           prior to the commencement of the examination,
     5     JAMES E. RAFALSKI was duly sworn by me to
           testify to the truth, the whole truth and
     6     nothing but the truth.
     7                I DO FURTHER CERTIFY that the
           foregoing is a verbatim transcript of the
     8     testimony as taken stenographically by and
           before me at the time, place and on the date
     9     hereinbefore set forth, to the best of my
           ability.
    10
                      I DO FURTHER CERTIFY that pursuant
    11     to FRCP Rule 30, signature of the witness was
           not requested by the witness or other party
    12     before the conclusion of the deposition.
    13                I DO FURTHER CERTIFY that I am
           neither a relative nor employee nor attorney
    14     nor counsel of any of the parties to this
           action, and that I am neither a relative nor
    15     employee of such attorney or counsel, and
           that I am not financially interested in the
    16     action.
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    23     Dated: May 15, 2019
    24
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